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 4
   ATTORNEYS FOR DEFENDANT
 5 DERIAN EIDSON

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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:11-CR-234 TLN

12                                Plaintiff,            STIPULATION AND ORDER CONTINUING
                                                        STATUS CONFERENCE AND PLACING
13                          v.                          MATTER ON CALENDAR FOR SENTENCING

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16
     DERIAN EIDSON,
17                                Defendants.

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21          Defendant Derian Eidson, by and through her court-appointed counsel, Robert M. Wilson, and
22 the United States, by and through Matthew Segal, Assistant United States Attorney, stipulate and request

23 that the hearing currently set in this matter on November 15, 2018, be continued to February 21, 2019,

24 for sentencing. This matter is on remand from the Ninth Circuit and no Speedy Trial waiver is

25 necessary. The parties further stipulate that counsel for the defendant need additional time to review the

26 record in this matter and prepare for sentencing.
27          The defendant wishes to be sentenced in abstentia. She intends to execute a waiver of
28 appearance in a form and manner satisfactory to the government. See Fed. R. Crim. P. 43(c)(1)(B). A

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 1 valid waiver should allow her to return to a prison facility on order of the court or written request by the

 2 attorney for the government. See 18 U.S.C. § 3621(d).

 3          Good cause appearing, the parties seek an Order from this court continuing this matter to

 4 February 21, 2019, at 9:30 a.m.

 5

 6          November 14, 2018                              /s/ Robert M. Wilson
                                                          ROBERT M. WILSON
 7                                                        Attorney for Derian Eidson

 8
            November 14, 2018                              /s/ Matthew Segal
 9                                                        MATTHEW SEGAL
                                                          Attorney for the United States
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                                                  IT IS SO ORDERED.
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13
            Good cause appearing, the status conference presently set for November 15, 2018, at 9:30 A.M.,
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15 is continued to February 21, 2019, at 9:30 A.M..

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17 Dated: November 14, 2018

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20                                                        Troy L. Nunley
                                                          United States District Judge
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